Case 16-07207-JMC-7A                Doc 3810        Filed 01/31/20          EOD 01/31/20 15:23:21               Pg 1 of 2




                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

                       NOTICE OF HEARING AND OBJECTION DEADLINE

        PLEASE TAKE NOTICE that on January 29, 2020, Faegre Baker Daniels LLP, special
 counsel to Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), filed its Sixth
 Interim Application of Faegre Baker Daniels LLP for Compensation and Reimbursement of
 Expenses as Special Counsel to Chapter 7 Trustee [Doc 3805] (the “Application”).

         NOTICE IS GIVEN that, pursuant to the Order Establishing Certain Notice, Case
 Management and Administrative Procedures and Approve Proposed Form 309D (the “Case
 Management Procedures”) [Doc 220], any objection to the above-referenced Applications must
 be in writing and filed with the Bankruptcy Clerk by no later than 4:00 p.m. (prevailing Eastern
 time) on February 12, 2020. Those not required or not permitted to file electronically must
 deliver any objection by U.S. mail, courier, overnight/express mail or in person at:

                                            116 U.S. Courthouse
                                            46 East Ohio Street
                                            Indianapolis, IN 46204

 The objecting party must also serve a copy of the written objection upon the Trustee’s counsel, at
 Counsel for Trustee Deborah J. Caruso, Rubin & Levin, P.C., 135 N. Pennsylvania Street, Suite
 1400, Indianapolis, IN 46204. If an objection is NOT timely filed, the requested relief may
 be granted without a hearing.

         NOTICE IS FURTHER GIVEN that in the event an objection to the above-referenced
 Application is timely filed, a hearing will be conducted on February 19, 2020 at 1:30 p.m.
 (prevailing Eastern time), in Room 325 of the United States Courthouse, 46 East Ohio Street,
 Indianapolis, IN 46204.

         NOTICE IS FURTHER GIVEN that because this notice is only for purposes of CHAP
 (Chambers Automation Program) and was also imbedded in the above-referenced Application,
 this notice will not be served on any parties in this case.




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   The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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                                                                     Respectfully submitted,
                                                                     RUBIN & LEVIN, P.C.
 Dated: January 31, 2020                                        By: /s/ Meredith R. Theisen
                                                                        Meredith R. Theisen
                                                                     Deborah J. Caruso (Atty. No. 4273-49)
                                                                     John C. Hoard (Atty. No. 8024-49)
                                                                     James E. Rossow Jr. (Atty. No. 21063-29)
                                                                     Meredith R. Theisen (Atty. No. 28804-49)
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                                                                     Attorneys for Deborah J. Caruso, Trustee
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